116 F.3d 453
    HUGHES AIRCRAFT COMPANY, Plaintiff-Appellant,v.The UNITED STATES, Defendant/Cross-Appellant.
    Nos. 94-5149, 95-5001.
    United States Court of Appeals,Federal Circuit.
    June 9, 1997.
    
      On remand from the Supreme Court of the United States.
      Kenneth W. Starr, Kirkland &amp; Ellis, Washington, DC, for plaintiff-appellant.  Of counsel were Philip C. Swain, Jay I. Alexander, and Christopher Landau, Washington, DC;  William A. Streff, Jr., Chicago, IL;  Victor G. Savikis, Jones, Day, Reavis &amp; Pogue, Los Angeles, CA;  and John J. Higgins and Wanda K. Denson-Low, Hughes Aircraft Company, Los Angeles, CA.
      Thomas J. Byrnes, Assistant Director, Commercial Litigation Branch, Civil Division, Department of Justice, Washington, DC, for defendant/cross-appellant.  Of counsel were Frank W. Hunger, Assistant Attorney General;  Vito J. DiPietro, Director;  William C. Bergmann, Janice M. Mueller, Edward H. Rice, and B. Frederick Buchanan, Jr., Attorneys, Department of Justice;  and Paul F. McCaul, Attorney, Manhattan Beach, CA.
      ORDER
      ARCHER, Chief Judge.
    
    
      1
      This case is before us on remand from the United States Supreme Court.  See United States v. Hughes Aircraft Co., --- U.S. ----, 117 S.Ct. 1466, 137 L.Ed.2d 680 (1997).  The Supreme Court vacated the judgment of this court and remanded the case "for further consideration in light of Warner-Jenkinson Company, Inc. v. Hilton Davis Chemical Co., 520 U.S. ----, 117 S.Ct. 1040, 137 L.Ed.2d 146 (1997)."   We invite the parties to file supplemental briefs addressing issues raised by this vacatur and remand, the principal briefs not exceeding 30 pages and the reply brief not exceeding 15 pages.  Accordingly, it is ORDERED:
    
    
      2
      (1) The United States shall file its brief no later than July 9, 1997;
    
    
      3
      (2) Hughes Aircraft Company shall file its response no later than August 8, 1997;
    
    
      4
      (3) The United States shall file its reply no later than August 25, 1997;  and
    
    
      5
      (4) Oral argument will be at 10:00 a.m. on October 1, 1997.
    
    